The plea in abatement cannot be supported: It is essentially defective both in form and substance. The words of the act of 1793, ch. 18, are "any debt or demand," but the plea substitutes the words "The matter in contest." The plea is defective in substance, because the action arises ex delicto; and it is therefore impossible to ascertain the sum the plaintiff is entitled to before the jury have assessed the damages. The sum demanded in the writ is upwards of £ 100, so that the plaintiff, living in a different district from the defendant, is prima facie entitled to sue where he lives, his demand being above that fixed by the act in such cases. But even if he should obtain a verdict for a less sum than £ 50, it would seem to be straining the interpretation of the act to suffer the jurisdiction of the courts to depend upon a rule so uncertain and capricious as the amount of damages (241) in cases of tort.
Let the plea be overruled and a respondeas ouster awarded. *Page 186 